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4
     Attorney for Defendant
5    BROOK MURPHY
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8
9                                         UNITED STATES DISTRICT COURT
10                                    EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                         No. 2:15-CR-0234-JAM

13                           Plaintiff,                STIPULATION AND ORDER

14             v.
                                                       Sentencing:
15   BROOK MURPHY,                                     Date: May 2, 2017
                                                       Time: 9:15 a.m.
16                           Defendant.                Hon. John A. Mendez

17
18             Defendant, BROOK MURPHY, by and through his attorney, John Balazs, and plaintiff,
19   UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney Jason
20   Hitt, hereby stipulate to extend the sentencing schedule as follows:

21
               Sentencing:
22
               Draft PSR disclosed to counsel:                    March 21, 2017
23
24             Informal objections to Draft PSR due:              April 4, 2017

25
               Final PSR due:                                     April 11, 2017
26
               Motion for Correction of PSR                       April 18, 2017
27
28             Reply or Statement                                 April 25, 2017

     Stipulation and Order                              1
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1              Judgment and Sentencing Date                       May 2, 2017 at 9:15 a.m.

2
               This request is made because the defendant needs additional time to provide information
3    to the probation officer and to prepare for sentencing.
4    Dated: March 3, 2017                          Dated: March 3, 2017
5
6    PHILLIP A. TALBERT
     United States Attorney
7
8     /s/ Jason Hitt                                /s/John Balazs
     JASON HITT                                    JOHN BALAZS
9    Assistant U.S. Attorney

10   Attorney for Plaintiff                        Attorney for Defendant
     UNITED STATES OF AMERICA                      BROOK MURPHY
11
12                                                 ORDER
13             IT IS SO ORDERED.
14   Dated: 3/3/2017
15
                                            /s/ John A. Mendez____________
16                                          HON. JOHN A. MENDEZ
                                            United States District Court Judge
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     Stipulation and Order                             2
